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 1   GARY M. RESTAINO
     United States Attorney
 2   District of Arizona
 3   KEVIN M. RAPP (Ariz. Bar No. 014249, kevin.rapp@usdoj.gov)
     MARGARET PERLMETER (Ariz. Bar No. 024805, margaret.perlmeter@usdoj.gov)
 4   PETER S. KOZINETS (Ariz. Bar No. 019856, peter.kozinets@usdoj.gov)
     ANDREW C. STONE (Ariz. Bar No. 026543, andrew.stone@usdoj.gov)
 5   Assistant U.S. Attorneys
     40 N. Central Avenue, Suite 1800
 6   Phoenix, Arizona 85004-4408
     Telephone (602) 514-7500
 7
     DAN G. BOYLE (N.Y. Bar No. 5216825, daniel.boyle2@usdoj.gov)
 8   Special Assistant U.S. Attorney
     312 N. Spring Street, Suite 1400
 9   Los Angeles, CA 90012
     Telephone (213) 894-2426
10
     KENNETH POLITE
11   Assistant Attorney General
     Criminal Division, U.S. Department of Justice
12
     AUSTIN M. BERRY (Texas Bar No. 24062615, austin.berry2@usdoj.gov)
13   U.S. Department of Justice
     Child Exploitation and Obscenity Section
14   1301 New York Avenue, NW, 11th Floor
     Washington, D.C. 20005
15   Telephone (202) 412-4136
     Attorneys for Plaintiff
16
                        IN THE UNITED STATES DISTRICT COURT
17
                                FOR THE DISTRICT OF ARIZONA
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19
      United States of America,                               CR-18-422-PHX-DJH
20
                             Plaintiff,               UNITED STATES’ RESPONSE TO
21                                                     DEFENDANTS’ OBJECTION TO
               v.                                     THE COURT’S PROPOSED JURY
22                                                   INSTRUCTION RELATING TO THE
                                                           FIRST AMENDMENT
23    Michael Lacey, et al.,                                   [Doc. 1657]
24                           Defendants.
25
26          Defendants’ Objection (Doc. 1657) should be rejected as a thinly veiled effort to
27   rehash the same arguments that Defendants have repeatedly made, without success,
28   throughout this case.
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 1          Defendants have cited the same authorities, and made the same arguments, in many
 2   filings. See, e.g., Doc. 23 at 7 n.2, 11-12; Doc. 561, Mot. at 4-6, 14-18, 36 n.37, 37-42;
 3   Doc. 697, Reply at 8-9 and nn. 9-10; Doc. 1216-3 at 185, 191; Doc. 1222-2 at 1-10; Doc.
 4   1602 at 3-4; Doc. 1612 at 2-3 and n.1; Doc. 1626-3 at 161-64, 169-70, 174, 185-86.
 5          The United States has repeatedly responded. See, e.g., Doc. 649, Resp., passim;
 6   Doc. 1216-3 at 185-87, 192-94; Doc. 1242 at 4-6; Doc. 1590, Mot. at 1-2; Doc. 1597, Mot
 7   at 1-3 and n.2; Doc. 1604, Resp. at 1-3; Doc. 1626 at 152-55, 159-60, 164-67, 170-72, 176-
 8   82, 186-87, 194.
 9          The Court has repeatedly rejected Defendants’ arguments. At the motion to dismiss
10   stage, the Court ruled that the allegations in the Superseding Indictment (Doc. 230, SI), if
11   proven, show that the 50 ads in Counts 2-51 were for prostitution. Doc. 793 at 9-11. The
12   Court also recognized that “Prostitution ads are ads for illegal transactions,” and “[t]he
13   First Amendment does not protect ‘offers to engage in illegal transactions.’” Doc. 793 at
14   14 (citations omitted). The Court found that the Travel Act is not unconstitutionally
15   overbroad or vague as applied in this case. Doc. 793 at 20-22; Doc. 840 at 12-13.
16          Before the September 2021 trial, Defendants briefed the identical cases that
17   Defendants assert here. Compare Doc. 1222-2 with Doc. 1657; see also Docs. 1236, 1242.
18   After the parties argued these issues, Doc. 1432 at 36:14-66:12, the Court denied
19   Defendants’ requested preliminary First Amendment instructions. Doc. 1340 at 25:10-17.
20          Defendants recapitulated the same cases in their latest appeal. 9th Cir. Case No. 22-
21   1000, DktEntry 11, Op. Br. at 25-28 and nn.29-30. The Ninth Circuit recognized the trial
22   court had rejected Defendants’ “extensively” briefed First Amendment motions to dismiss,
23   and also stated the government “had a clear path to prevailing at trial.” United States v.
24   Lacey, 2022 WL 4363818, at *1-2 (9th Cir. Sept. 21, 2022).
25          More recently, after considering motion in limine briefs that addressed the same
26   arguments and authorities, Docs. 1590 and 1602, the Court ruled that “to the extent that
27   Defendants seek to invoke their First Amendment rights as a defense to the allegations that
28   they conspired to promote and/or facilitate prostitution through veiled ads for prostitution,


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 1   they are prohibited from doing so.” Doc. 1643 at 8-9.
 2         The United States stands on its prior responses to the arguments and authorities that
 3   Defendants repeat in Doc. 1657.
 4
 5         Respectfully submitted this 3rd day of August, 2023.
 6                                            GARY M. RESTAINO
                                              United States Attorney
 7                                            District of Arizona
 8                                            KENNETH POLITE
                                              Assistant Attorney General
 9                                            Criminal Division, U.S. Department of Justice
10                                            s/Peter S. Kozinets
                                              KEVIN M. RAPP
11                                            MARGARET PERLMETER
                                              PETER S. KOZINETS
12                                            ANDREW C. STONE
                                              DANIEL G. BOYLE
13                                            Assistant U.S. Attorneys
14                                            AUSTIN M. BERRY
                                              Trial Attorney
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 1                               CERTIFICATE OF SERVICE
 2          I hereby certify that on August 3, 2023, I electronically transmitted the attached
 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 4   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
 5   as counsel of record.
 6
                                              s/Brian Wolfe
 7                                            Brian Wolfe
                                              U.S. Attorney’s Office
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